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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF VERMONT

MIGRANT JUSTICE and MATT CAMERON,                     )
                                                      )
               Plaintiffs,                            )       Case No. 2:17-CV-197
                                                      )
               v.                                     )
                                                      )
UNITED STATES DEPARTMENT OF                           )
HOMELAND SECURITY, UNITED STATES                      )
CUSTOMS AND BORDER PROTECTION, and                    )
UNITED STATES IMMIGRATION AND                         )
CUSTOMS ENFORCEMENT,                                  )
                                                      )
               Defendants.                            )
                                                      )

                         SEVENTEENTH JOINT STATUS REPORT

       On December 27, 2017, this Court granted the parties’ Stipulated Schedule For Status

Reports To The Court And Request To Stay Local Rule 26(a). Doc. Nos. 13, 15. Pursuant to the

Order, the parties submit this Joint Status Report to update the Court on progress of the litigation.

This Joint Status Report is the parties’ seventeenth such report. The parties’ Sixteenth Joint Status

Report was filed on July 8, 2021.

       The parties have continued to make progress in settlement discussions and continue to

believe there is a viable path toward resolution. The settlement discussions are centered around a

small subset of the documents produced; Defendants anticipate producing a response to Plaintiffs’

settlement demand by mid-September. The parties will advise the Court promptly if they achieve

resolution or if they determine that they are unable to do so, in which case they will file a motion

for a briefing schedule for cross-motions for summary judgment or other appropriate next steps.
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Dated: September 7, 2021           Respectfully submitted,

                                   FOR THE PLAINTIFFS

                                   Lia Ernst
                                   ACLU Foundation of Vermont
                                   P.O. Box 277
                                   Montpelier, VT 05601
                                   802-223-6304
                                   lernst@acluvt.org

                                   Josh Stehlik*
                                   Sarah Kim Pak*
                                   National Immigration Law Center
                                   3435 Wilshire Boulevard, Suite 1600
                                   Los Angeles, CA 90010
                                   213-639-3900
                                   stehlik@nilc.org
                                   kimpak@nilc.org


                                   Claudia Wilner*
                                   National Center for Law and Economic Justice
                                   275 Seventh Avenue, Suite 1506
                                   New York, NY 10001-6860
                                   212-633-6967
                                   wilner@nclej.org

                                   * Appearing pro hac vice



                                   FOR THE DEFENDANTS:

                                   JONATHAN OPHARDT
                                   First Assistant U.S. Attorney
                                   Acting United States Attorney

                                   Michael Sady (BBO #552934)
                                   Assistant U.S. Attorney
                                   John Joseph Moakley
                                   United States Courthouse, Suite 9200
                                   1 Courthouse Way
                                   Boston, MA 02210
                                   (617) 748-3362
                                   Michael.sady@usdoj.gov

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